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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS

                                    SAN ANTONIO DIVISION


 LOGAN PAUL,

                                 Plaintiff,
        v.
                                                           Civil Action No.: 5:24-cv-00717
 STEPHEN FINDEISEN AND COFFEE BREAK
 PRODUCTIONS LLC D/B/A COFFEEZILLA,

                                 Defendants.


      [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL
     PRODUCTION OF EVIDENCE RELEVANT TO PLAINTIFF’S GOOD FAITH
                      INTENTIONS AND ACTIONS

       On consideration of Plaintiff’s Motion to Compel Production of Evidence Relevant to

Plaintiff’s Good Faith Intentions and Actions (the “Motion”), filed on April 9, 2025, and the

parties’ submissions regarding the Motion, IT IS HEREBY ORDERED THAT:

       1. The Motion is GRANTED; and

       2. Defendants shall promptly produce all communications in which a source provided

             information reflecting upon Paul’s good faith and lack of fraudulent intent with respect

             to the CryptoZoo project, as well as all internal documents, notes, drafts, and outtakes

             reflecting upon Defendants’ understanding and knowledge as to Paul’s good faith and

             lack of fraudulent intent with respect to the CryptoZoo project.


       SO ORDERED, this the ____ day of ________, 2025.


                                                _______________________________
                                                HENRY J. BEMPORAD
                                                UNITED STATES MAGISTRATE JUDGE



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